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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

      Plaintiff,

vs.                                           Case Number: 1:12-cv-00758-JAP-ACT

TESLA MOTORS, INC., a Delaware
corporation,

      Defendant.

               STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

      COME NOW, Rio Real Estate Investment Opportunities, LLC and Tesla Motors,

Inc., by and through their undersigned counsel, and hereby agree to dismiss with

prejudice the above captioned and numbered case. Each party shall bear their own

costs and attorneys’ fees.

      WHEREFORE, IT IS HEREBY ORDERED ADJUDED AND DECREED the

above-captioned case is hereby dismissed with prejudice.



IT IS SO ORDERED.
                                              _______________________________
                                              JAMES A. PARKER
                                              Senior United States District Court Judge
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STIPULATED BY:

LASTRAPES, SPANGLER & PACHECO, P.A.


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